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                            UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT
                          NOTICE OF APPEAL NOTIFICATION FORM
                                   Please Fill Out Completely

CASE INFORMATION:
Short Case Title: US -v- Douglas Stroms York
Court of Appeals No. (leave blank if a unassigned ________________________________________
U.S. District Court, Division & Judge Name: NDCA, San Jose Division, Judge Edward J. Davila
Criminal and/or Civil Case No.: CR 15-00226-EJD
Date Complaint/Indictment/Petition Filed: 4/22/2015
Date Appealed order/judgment entered 1/7/2016
Date NOA filed 1/7/2016
Date(s) of Indictment 4/22/15 Jury Verdict 8/28/15 Sentencing 1/4/16

COA Status (check one):      9 granted in full (attach order)      9 denied in full (send record)
                             9 granted in part (attach order)      9 pending

Court Reporter(s) Name & Phone Number: Irene Rodriguez : Phone#1.408.947.8160

                       Magistrate Judge’s Order? If so, please attach.
FEE INFORMATION
Date Docket Fee Paid: Waived                                  Date Docket Fee Billed:
Date FP granted:                                               Date FP denied:
Is FP pending? 9 yes 9 no                                      Was FP limited 9? Revoked 9?
US Government Appeal? 9 yes 9 no
Companion Cases? Please list:

                Please attach copy of any order granting, denying or revoking FP.
COUNSEL INFORMATION (please include email address)
Appellant’s Counsel                                    Appellee Counsel: Brianna Penna
Graham Archer                                          US Attorney’s Office
Assistant Federal Public Defender                      150 Almaden Blvd.,
55 Sourt Market Street, Suite 820                       San Jose, CA 95113
San Jose, CA 95113 408.291.7753                           408.535.5037
9 retained 9 CJA : FPD 9 Pro Se 9 Other Special Appearance Please attach appointment order.
DEFENDANT INFORMATION
Prisoner ID:                                 Address:
Custody:
Bail:

AMENDED NOTIFICATION INFORMATION
Date Fees Paid:                9th Circuit Docket Number:



Name & Phone Number of Person Completing this Form: Cita Escolano
                                                    1.408.535.5391
